     Case 1:14-cr-00226-DAD-BAM Document 181 Filed 04/04/19 Page 1 of 3


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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                         No. 1:14-cr-00226-DAD-BAM
12                       Plaintiff,
13           v.                                         ORDER GRANTING GOVERNMENT’S
                                                        MOTION TO DISMISS PETITIONERS’
14    LEONOR SARABIA-RAMIREZ,                           ANCILLARY PETITION
15                       Defendant.                     (Doc. No. 165)
16

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18          Ancillary petitioners Pete Herrera and Lupe Herrera’s (collectively, “petitioners”) have

19   asserted an interest in approximately $88,700.00 in U.S. currency (the “subject currency”) seized

20   as a result of defendant Leonor Sarabia-Ramirez forfeiting her interest in the subject currency.

21   (Doc. No. 146; see also Doc. No. 165 at 4–5.) Before the court is the government’s motion to

22   dismiss petitioners’ ancillary petition. (Doc. No. 165.) A hearing on the motion was held on

23   March 25, 2019. Attorney Erin Sales appeared on behalf of the government. No appearance was

24   made on behalf of petitioners. The court has reviewed the ancillary petition and has considered

25   the government’s motion and oral arguments, and for the reasons set forth below, will grant the

26   government’s motion to dismiss with leave to amend.

27          On July 11, 2018, petitioners filed a pro se a document with the court claiming an interest

28   in the subject currency. (Doc. No. 146.) In that filing, which the court will liberally construe as
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     Case 1:14-cr-00226-DAD-BAM Document 181 Filed 04/04/19 Page 2 of 3


 1   an ancillary petition, petitioners aver that they “have legal rights, title, and interest in the

 2   aforementioned property.” (Id. at 1.) Petitioners represent in their filing that the subject currency

 3   is their “life time savings” and “nest egg” and that they “have worked all [their] lives to earn the

 4   money.” (Id.) The filing states that petitioner Pete Herrera is a retired ironworker and that

 5   petitioner Lupe Herrera used to be the lead dispatcher for the City of Madera, California. (Id.)

 6   Petitioners assert that they “have [a] right to have [their] money back as human beings and US

 7   citizens.” (Id.)

 8           The petitioners’ filing with the court fails to comport with 21 U.S.C. § 853(n), which

 9   requires a person “asserting a legal interest in property which has been ordered forfeited to the

10   Unites States” to “petition the court for a hearing to adjudicate the validity of his alleged interest

11   in the property.” 21 U.S.C. § 853(n)(2).

12                      The petition shall be signed by the petitioner under penalty of perjury
                        and shall set forth the nature and extent of the petitioner's right, title,
13                      or interest in the property, the time and circumstances of the
                        petitioner's acquisition of the right, title, or interest in the property,
14                      any additional facts supporting the petitioner's claim, and the relief
                        sought.
15

16   21 U.S.C. § 853(n)(3). Here, although signatures from both petitioners appear on their

17   submission, it is not signed by either petitioner under penalty of perjury. (See Doc. No. 146); see

18   also United States v. Aitken, No. 2:09-CR-0097, 2010 WL 2951171, at *2 (D. Nev. July 22, 2010)

19   (“Petitioners have failed to sign the petition under penalty of perjury. Such a failure warrants

20   dismissal.”) (citing United States v. Commodity Account No. 549 54930, 219 F.3d 595, 597 (7th
21   Cir. 2000) (“[V]erification is an essential element of any claim because of the substantial danger

22   of false claims. Verification forces the claimant to place himself at risk of perjury for false claims,

23   and the requirement of oath or affirmation is not a mere technical requirement that we easily

24   excuse.”))

25           Moreover, here the petitioners’ filing fails to “set forth the nature and extent of

26   [petitioners’] right, title, or interest in the property, [or] the time and circumstances of the
27   petitioner[s’] acquisition of the right, title, or interest in the property.” 21 U.S.C. § 853(n)(3).

28   Petitioners general and conclusory allegations that the subject currency constitutes their live
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     Case 1:14-cr-00226-DAD-BAM Document 181 Filed 04/04/19 Page 3 of 3


 1   savings is insufficient in this regard. See United States v. Hailey, 924 F.Supp.2d 648, 658

 2   (D.Md.2013) (holding that “[c]onclusionary allegations of ownership and purchase with funds

 3   from employment [are] insufficient under § 853(n)(3)”). “[T]he law requires more than a bare

 4   assertion of legal title to establish the nature and extent of petitioner's right, title or interest in the

 5   subject property.” United States v. Edwards, Crim. No. 06–50127–01, 2007 WL 2088608, at *2

 6   (W.D. La. July 20, 2007).

 7           Accordingly, the court will grant the government’s motion to dismiss petitioners’ ancillary

 8   petition. However, in light of petitioners’ pro se status, the court will dismiss the petition with

 9   leave to amend. Any amended petition that petitioners elect to file shall be filed within twenty-

10   one (21) days of the issuance of this order. If petitioners fail to file with the court an amended

11   petition within the allotted time, neither will thereafter be permitted to file another petition and a

12   Final Order of Forfeiture will be issued. Should petitioners elect to file an amended petition

13   within the time provided above, that petition shall: (1) be signed by each petitioner under

14   penalty of perjury; and (2) provide facts setting forth the nature and extent of petitioners’

15   right, title, or interest in the subject currency, as well as the time and circumstances of their

16   acquisition of the right, title, or interest in the subject currency. These facts can include, among

17   others: how petitioners acquired a right, title, or interest in the subject currency; the time of any

18   such acquisition; or how either petitioner’s claim to an interest in the currency is connected to the

19   criminal charges brought against defendant Leonor Sarabia-Ramirez’s and her agreement to

20   forfeit that currency in those criminal proceedings.
21   IT IS SO ORDERED.
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         Dated:     April 3, 2019
23                                                         UNITED STATES DISTRICT JUDGE

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